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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK
------------------------------------------x
 GUSTAVIA HOME, LLC,
                                                                NOTICE OF VOLUNTARY
                                                                DISCONTINUANCE
                                                                Case No. 1:17-CV-4262

                                       Plaintiff,

                           -against-

 EAST 93 HOLDINGS LLC, et al.,
                           Defendants.
------------------------------------------x



    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)


       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the

plaintiff(s)GUSTAVIA HOME, LLC and or their counsel(s), hereby give notice that the above

captioned action is voluntarily dismissed, without prejudice against the all defendants with

prejudice.



Dated: New York, New York
       February 28, 2019                            BY:   /s/Danielle Light
                                                          Danielle P. Light, Esq.
                                                          Attorneys for Gustavia Home, LLC
